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1
                               UNITED STATES DISTRICT COURT
2
                                      DISTRICT OF NEVADA
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4
      ROBERT JACKSON,                                 Case No. 2:20-cv-02100-KJD-DJA
5
            Petitioner,
6                                                     ORDER
            v.
7
      CALVIN JOHNSON, et al.,
8
            Respondents.
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11          In this habeas corpus action, in an order entered on June 14, 2022, this Court
12   denied pro se petitioner Robert Jackson’s habeas petition and denied him a certificate
13   of appealability, and judgment was entered on that same date. ECF Nos. 29, 30.
14   Jackson appealed, and the Ninth Circuit Court of Appeals denied Jackson a certificate
15   of appealability on May 12, 2023. ECF Nos. 31, 36. On June 1, 2023, Jackson filed a
16   motion for relief from judgment (ECF No. 39), requesting reconsideration of an order
17   entered on September 30, 2021 (ECF No. 23), ruling on Respondents’ motion to
18   dismiss. On August 10, 2023, this Court denied that motion for relief from judgment as
19   untimely filed, and then denied Jackson a certificate of appealability regarding that
20   ruling. ECF Nos. 47, 51. Jackson again appealed, and the Ninth Circuit Court of
21   Appeals again denied him a certificate of appealability on January 31, 2024. ECF Nos.
22   48, 53. Also, in an order entered on January 23, 2024, the Court of Appeals denied
23   Jackson’s application for authorization to file a second or successive § 2254 habeas
24   corpus petition in the district court. ECF No. 52.
25          On July 16, 2024, Jackson filed another motion for relief from judgment. ECF No.
26   54. Respondents’ response to that motion was due on July 30, 2024. See LR 7-2(b).
27          On July 30, 2024, Respondents filed a motion for extension of time (ECF No. 55),
28   requesting a 14-day extension, to August 13, 2024, to respond to Jackson’s motion for
                                                  1
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1    relief from judgment. This would be the first extension of this deadline. Respondents’

2    counsel states that the extension is necessary because of her obligations in other

3    cases. The Court finds that Respondents’ motion for extension of time is made in good

4    faith and not solely for the purpose of delay, and there is good cause for the extension

5    of time requested.

6          IT IS THEREFORE ORDERED that Respondents’ Motion for Enlargement of

7    Time (ECF No. 55) is GRANTED. Respondents will have until and including

8    August 13, 2024, to file their response to the motion for relief from judgment.

9          IT IS FURTHER ORDERED that Petitioner will have 30 days to file a reply to

10   Respondents’ response to his motion for relief from judgment.

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12         DATED THIS 30th day of July, 2024.

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                                                     KENT J. DAWSON
15                                                   UNITED STATES DISTRICT JUDGE
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